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   FRANCISCO DE CASO Ph.D., LEED A.P.




                      EXPERT REPORT
                  CHRISTINE KESSLER
                          v.
                NORWEGIAN CRUISE LINE
                        CASE NO.: 19-CV-20583



                               Report Number: R190811
                              Date Issue: October 1, 2019



    REPORT PREPARED FOR:
                                Gerson and Schwartz, PA
                                 Attn: Nicholas I. Gerson
                             1980 Coral Way, Miami, FL 33145
          Email: ngerson@gslawusa.com; Phone (305) 371-6000; Fax (305) 371-5749

    SCOPE OF WORK:
                        Inspection onboard the Norwegian Breakaway




                          Francisco De Caso, Ph.D., LEED A.P.
                     5804 Leonardo St., Coral Gables FL, 33146 • 305-450-9291
                                       fjdecaso@gmail.com
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    Controls:
    Superseded Report               New report

    Reason for Revision             n/a

    Effective Date                  October 1, 2019


    Report Approval:
    I indicate that I have authored and reviewed this report and agree with the contents it presents, and I
    approve for its release.
    Name:             Francisco J. De Caso Basalo, Ph.D., LEED A.P., CXLT



    Signature:
                     _______________________________


    Date:             October 1, 2019




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   1.     INTRODUCTION
          PURPOSE OF REPORT
   This report provides findings, opinions and conclusions relevant to the evaluation subsequent to
   the document review and inspection on board the Norwegian Breakaway on the matter arising
   from the litigation relating the complaint by Ms. Christine Kessler v. Norwegian Cruise Line in the
   United States District Court Southern District of Florida, as referenced within Case No.: 19-CV-
   20583.

          REPORT PREPERATION
   This report and its contents have been prepared by myself, Francisco De Caso, Ph.D., LEED
   A.P., CXLT. The opinions contained herein are based on my professional knowledge, education,
   and training; and are based within a reasonable degree of scientific probability. I disclose no
   known conflict of interest with known parties. Preparation of this report included the review of
   various documents related to the litigation as well as studies, standards, codes, provisions and
   guidelines.

   This report is based on the information currently available to me, and if additional information is
   subsequently provided, I reserve the right to amend or supplement my opinions. Documents aided
   the preparation of this report are referenced within the report.

          QUALIFICATIONS
   I received my Masters of Engineering (Meng) in Civil and Architectural Engineering from the
   University of Bath, England (UK), and my Ph.D. in Civil Engineering with emphasis in structural
   engineering and material science from the University of Miami, where I am currently a Principal
   Scientist. My knowledge area and research is in civil and structural engineering, including testing,
   evaluation and analysis of materials, systems and technologies. These activities encompass a
   broad spectrum of expertise related to understanding and behavior of materials and elements
   applied to the built environment, characterization of different physical and mechanical material
   parameters, effect of aging and durability in materials, performance requirements and design
   related issues of the built environment. I am also the Associate Director of the Center for
   Integration of Composites into Infrastructure (CICI), a National Science Foundation
   Industry/University cooperative research center involved in technology transfer, as well as
   fundamental and applied research with private and public organizations. I am actively engaged in
   sponsored research from federal, state agencies, and private industry. I am an active member of
   numerous professional organizations dedicated to the development as well as review of test
   methods, standards, guidelines and codes amongst some are the ASTM international,
   International Code Council Evaluation Service (ICC-ES), American Concrete Institute (ACI), and
   American Society of Civil Engineers (ASCE), as well as a Certified XL Tribometrist. Furthermore,
   I am the manager of the Structures and Materials Laboratory, an ISO 17025-2017 accredited
   laboratory that performs testing, evaluation, analysis and design on a variety of different materials,
   systems, technologies and structures. My CV and fee sheet are attached, containing my
   education and licenses, participation in professional organizations, as well as published
   conference and peer reviewed papers, participation as a reviewer in high impact journal
   publications, relevant awards, research projects and other relevant information to demonstrate
   my qualifications to render opinions to the aforementioned matter.




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          DOCUMENTATION
   The following relevant case documents regarding the litigation have been reviewed in preparation
   for this report, stated in no particular order:

      1.4.1.     Complaint and demand for trial by Jury.
      1.4.2.     CCTV footage from two angles.
      1.4.3.     Notice of service of answers to interrogatories.
      1.4.4.     Defendant’s initial notice of serving supplemental answers to Plaintiff’s initial
                 interrogatories.
      1.4.5.     Defendant’s first notice of serving supplemental answers to Plaintiff’s initial
                 interrogatories.
      1.4.6.     Defendant’s second notice of serving supplemental answers to Plaintiff’s initial
                 interrogatories.
      1.4.7.     Plaintiff’s better answers to numbers 13,18and 21 of Defendants initial
                 interrogatories.
      1.4.8.     Documents produced in response to Plaintiff’s initial request for production.
      1.4.9.     IssuTrax log, issue details, issue # 355814.
      1.4.10.    Defendant’s second supplemental responses to plaintiff’s amended initial request
                 for production.
      1.4.11.    Transcript of deposition of Brett Berman, and corresponding exhibits.
      1.4.12.    Transcript of deposition of Christine Kessler, and corresponding exhibits.
      1.4.13.    Transcript of deposition of Michael Cabigon Collantes, and corresponding exhibits.
      1.4.14.    Transcript of deposition of Jemalyn Lenoso, and corresponding exhibits.
      1.4.15.    Transcript of deposition of Tung Tellez, and corresponding exhibits.
      1.4.16.    Transcript of deposition of Sibbhantz Naik, and corresponding exhibits.
      1.4.17.    Product specification document, Oasis Enforce self-foaming chlorinated alkaline
                 cleaner.

          REPORT REQUETSED BY
   This expert witness report was prepared for:

       Gerson and Schwartz, PA
       Attn: Nicholas I. Gerson
       1980 Coral Way
       Miami, FL 33145
       Email: ngerson@gslawusa.com;
       Phone (305) 371-6000; Fax (305) 371-5749




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   2.     INSPECTION
          COMPLAINT
   The complaint is related to the incident, which occurred the afternoon of January 8, 2019 just
   before 4.00 pm (UTC) on board the vessel Norwegian Breakaway, on deck 15 forward to
   starboard, in the Spa & Salon facilities. Based on the review of the aforementioned documents,
   including CCTV footage, it can be inferred that Ms. Christine Kessler, while walking into the main
   Spa via the entrance corridor she slipped and fell, suffering serious injuries. Figure 1 shows the
   indecent location per the vessel deck plan (refer to red arrow). To this end, the Spa area and
   entrance hallway on deck 15 where the incident occurred was inspected to form an opinion and
   determine the likelihood of the potential causes of the subject incident.

          VESSEL BACKGROUND
   Operated by Norwegian Cruise Lines (NCL), the Norwegian Breakaway is 1,068.3 foot long cruise
   ship with 145,655 gross tonnage and a maximum capacity for 3,963 passengers, with a crew
   complement of 1,657. The Norwegian Breakaway entered service in April 2013, and was
   refurbished in 2018.

          SCOPE OF EVALUATION
   On Sunday August 25, 2019, at Port of Miami, Florida, starting at approximately 9.00 am I initiated
   the inspection on board Norwegian Breakaway, deck 15 in and around the Spa forward/starboard
   indicated by the red arrow in Figure 1. The inspection lasted about 90 minutes. The overall
   purpose of the inspection consisted in surveying, photographing and evaluating the area of the
   subject incident including the slip resistance properties of the spa floor surface on board the
   Norwegian Breakaway; evaluating the drainage at the spa facility, including surface flow of water;
   and other related environment factors that may have contributed to the aforementioned slip and
   fall complaint by Ms. Christine Kessler v. Norwegian Cruise Line. In additional, the scope of the
   evaluation included the review of CCTV footage to determine potential factors contributing to the
   incident as well as evaluating the gait of Ms. Christine Kessler prior and during the incident.




     Figure 1 – Norwegian Breakaway deck 15 plan and elevation, showing inspection location (red arrow)

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   3.      EVALUATION
   The activities conducted during the evaluation of the Spa area are summarized as followed
   between the Spa facilities and the Spa surface. Opinions related to the evaluation activities are
   presented in Section 4 of this report. All measuring equipment during the inspection was
   conditioned prior recording measurements, providing sufficient time to ensure dimensional
   compensation changes due to temperature effects. Length measurements were recorded with a
   Leica DISTO D2 (a hand held laser distance-meter) with an accuracy of 1/16 (0.06) of an inch, a
   tape measure with an accuracy of 1/8 (0.125) of an inch, or a caliper with a precision of 1/1000
   (0.001) of an inch, as necessary. Angle measurements were recorded with precision digital angle-
   measuring levels with an accuracy of 0.1-degrees.

           SPA FACILITIES
   The location of the incident under evaluation was indoors, located at the entrance hallway/corridor
   entering the mainly Spa area deck 15 forward, starboard, as indicated in Figure 1. The following
   relevant Spa facilities observations were made.

        3.1.1.    The average air temperature was 77°F.
        3.1.2.    At the time of the inspection the Spa was closed to guests, and appeared to have
                  been previously cleaned, in preparation for boarding guests. The entrance corridor
                  to the Spa area, facing forward and starboard-aft, can be seen in Figure 2.
        3.1.3.    Artificial light sources were visible and operational overhead the entrance corridor.
        3.1.4.    The Spa area houses different amenities including salt bath, rain showers, a steam
                  room, a hot tub and pool. The spa area faces forward and has windows thought
                  the exterior perimeter, as seen in Figure 3.
        3.1.5.    Adjacent to the Spa entrance corridor, on the port side, a pool access ramp was
                  located with a hand rail to one side, as seen in Figure 4. The average height of the
                  hand rail was 36.0 inches.
        3.1.6.    A perimeter drainage trench 7.0 inches wide, was located around the pool area.
                  The segment located by the end of the Spa corridor entrance, immediately next to
                  the location of the slip and fall incident, was inspected as seen in Figure 5.
        3.1.7.    The drainage trench had two drainage outlets at corners identified as #2 and #3,
                  refer to Figure 5. The outlets had an average dimeter of 1.88 inches.
        3.1.8.    Surface grinding at around the perimeter of each drainage outlet was visible.
                  Drainage #3 had significant more inner wall buildup compared to #2, as seen in
                  Figure 6.
        3.1.9.    The average slope of the drainage trench from point #1 to #3 was 0.14° based on
                  seven measurements.
        3.1.10.   Drainage capacity was evaluated in two ways; firstly, by pouring water directly on
                  each outlet; and secondly by pouring a known quantity of water at the start of the
                  trench (ID #1) next to the slip and fall incident. Based on this evaluation, it was
                  possible to see that i) water drained directly via the outlet, where in outlet #2 no
                  backup was observed, whereas in comparison outlet #3 did experience a backup
                  of water. ii) Water did flow from point #1 to #3, mostly circumventing point #2, at a
                  relatively slow rate.
        3.1.11.   An additional drainage point, part of the Spa drainage system of was inspected at
                  the top of the pool access ramp area, identified as #4, and presented in Figure 7.



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       3.1.12.     This last drain point (#4) was clogged and had stagnated water and did not drain
                   water.
       3.1.13.     The surface squeegee used to maintain the Spa floor surface dry was only visually
                   inspected, since it was not possible to utilize, and it is represented in Figure 8.




     Figure 2 – Entrance corrido to Spa area, immediately prior to incident location facing forward (top) and
                                         facing starboard-aft (bottom)

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                                     Figure 3 – Spa amenities




                              Figure 4 – Hand rail to access pool area

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          Figure 5 – Perimeter drainage trench and drain outlets immediately after incident location




                   Figure 6 – Close up of drainage outlets showing difference in build up

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                         Figure 7 – Drainage trench and outlet by pool access




                                      Figure 8 – Spa squeegee

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           SPA SURFACE
    An evaluation to determine quantitatively and qualitatively the condition of the Spa corridor
    entrance floor surface was undertaken. Slip resistant index measurements, slope, as well as
    microscopic visual surface evaluation methods were used. The evaluation of the floor surface at
    four different areas was performed using an ASTM F2508 English XL Variable Incidence
    Tribometer (VIT), to measure slip resistant index in the wet condition. The test locations were
    deliberately selected to ensure that comparison and representative segments of the floor surface
    area were sampled and tested. Test location #10 was selected as the slip and fall incident
    location, correlated based on the CCTV footage. Test locations #11 and #12 were situated at
    either side of the slip and fall location; and #14 was situated in the middle of the Spa entrance
    corridor. Figure 9 provides test location and direction references.

    The English XL VIT instrument mimics significant biomechanical parameters of the human
    walking gait. The instrument is used stationary at the test location, where the angle and velocity
    of the leg operating mechanism, and the size and shape of the test foot replicate the heel strike
    of a human walking; the instrument also has a functional ankle. Thus the leg of the English XL
    VIT is free to accelerate once a slip occurs, with a real-world human slip event, resulting in the
    slip resistant index. To this end, slip resistant index tests were conducted in the wet condition in
    four orthogonal directions (namely, North, N; East, E; South, S; and West, W) where the relative
    North direction was looking aft (as seen in Figure 9). A total of 16 wet surface tests were
    performed using regular tap water as a medium (four locations, four directions at each location),
    results are summarized in Table 1. Prior to conducting slip tests, a valid verification test was
    conducted on a calibrated tile. The standard Neolite test foot was re-conditioned and prepared as
    necessary per manufacturer’s instructions. In addition to the aforementioned standard test
    practices, protocols recommended by the equipment manufacturer were implemented to ensure
    accurate testing. Figure 10 shows the test equipment during testing. The following relevant Spa
    surface floor observations were made.

       3.2.1.      The floor surface was composed of square tiles, as seen in Figure 9, with an
                   apparent irregular surface pattern.
       3.2.2.      The average wet slip resistant index of the Spa entrance corridor floor surface was
                   found to equal 0.57, including all tested locations.
       3.2.3.      The overall maximum and minimum wet slip resistant index values in any given
                   direction were found to be 0.65 and .49, corresponding to the west (W) direction
                   at ID #14, and south (S) direction at ID#10, respectively.
       3.2.4.      A microscopic visual evaluation of the condition of the surface floor at each test
                   location is represented in Figure 11. The scale provided in 1/100 inches.
       3.2.5.      The surface drainage slope relative to the slip and fall location was also evaluated,
                   to assess flow and direction. To this end, water was deposited at location #10 and
                   #11. The water remain mostly stagnant, within a 4 square-feet area for over five
                   minutes. After this time, the water sloped out of this area, draining from the source
                   across the Spa entrance corridor, away from the end of the drainage trench
                   previously described (ID #1), refer to Figure 12.




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                                 Table 1 – Surface evaluation test results
                  Surface                            Relative Slip Resistant Index Test
     Location                       Slope
                Temperature                                       Direction                      Average
        ID
                    (F)          N-S     E-W        N          E           S             W
       #10         81.1          0.2     0.0      0.59        0.58       0.49          0.57        0.56
       #11         81.0          0.2     0.0      0.55        0.57       0.54          0.55        0.55
       #12         81.5          0.1     0.0      0.58        0.56       0.55          0.61        0.58
       #14         81.6          0.2     0.0      0.54        0.55       0.60          0.65        0.59
                                                                                   MAX             0.65
                                                                                   MIN             0.49
                                                                                   AVERAGE         0.57




                                                          N

                   Figure 9 – Surface evaluation test location identification and direction




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                  Figure 10 – English XL VIT instrument set up for the surface evaluation




             Figure 11 – Representative surface conditions with microscopy (Scale 1/100 inch)



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                Figure 12 – Surface water stagnant and drainage flow from incident location




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    4.      OPINIONS
    The results and evidence obtained from the inspection conducted on Sunday August 25, 2019, at
    Port of Miami, Florida, on board the vessel Norwegian Breakaway, deck 15 in and around the Spa
    main corridor entrance, in relation to the slip and fall incident by Ms. Christine Kessler, which
    occurred on January 8, 2018; are discussed and interpreted in this section. The opinions provided
    herein consider the plausible cause(s) contributing to the subject incident based on evidence,
    standards, applicable requirements, established body of knowledge and guidelines relevant to
    this matter.

            SITE EVALUATION
    From the Spa facilities evaluation and supporting documentation the following can be inferred:

         4.1.1.   The entrance corridor to the Spa, where the slip and fall incident occurred, is
                  identified as a mean of egress, identified by the emergency exit signs both at the
                  start and end of the corridor.
         4.1.2.   The conditions of the Spa and inspected area at the time of the incident are more
                  likely than not, not equivalent to those at the time of Ms. Kessler’s incident, given
                  the that Spa area at the time of the inspection had been prepared prior to guest
                  arrival. Most likely cleaning and disinfecting activities took place prior the
                  inspection as part of routine maintenance, necessary to ensure public health. This
                  is supported by use of Oasis Enforce, a chlorinated alkaline cleaner used on the
                  Spa floor.
         4.1.3.   On the other hand, it is well established that high contrast caused between
                  relatively dark and light spaces can lead to temporarily reduced visual capacity(IES
                  2010, Di Pilla 2016). This conditions were present when entering the Spa corridor,
                  and may have resulted in increased difficulty by Ms. Kessler to discern wet areas
                  from dry areas on the floor surface.
         4.1.4.   The Spa has numerous sources of water that can be tracked in any direction by
                  guests resulting on a wet surface. This was known by those in control of the
                  maintenance and operation of the Spa, thus the need to maintain dry floor surfaces
                  all times/immediately; also reported by Mr. Collantes, Mr. Naik and Ms. Lenoso.
         4.1.5.   No hand rail in the entrance of the Spa corridor was present. Handrail are
                  mandated by the Insertional Maritime Organization (IMO 1996) as per the
                  recommendations provided by the Maritime Safety Committee circular 735.
         4.1.6.   The inspected drainage system, was found to be inadequate due to the lack of
                  slope to provide adequate self-draining capabilities. Although water did drain at
                  each outlet located when placed directly above each outlet within the drainage
                  trench, it was evident during the inspection that water remained stagnant for a
                  prolonged period of time on the floor surface around the drained trench area.
         4.1.7.   For one of the drains (#4), water was clearly observed not to drain when water was
                  placed directly into the drain, resulting in overflowing the drainage trench, and
                  water spilling over and flowing down the ramp towards the other drainage trench
                  located next to the slip and fall incident. This is evidence of inadequate and
                  defective drainage, and can result in an unreasonable dangerous condition. Those
                  in control of the maintenance of the Spa facility, should have been aware of the
                  defective drainage condition.



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       4.1.8.    It is understood from the various case documents including the deposition
                 transcripts by Mr. Collantes, Ms. Lenoso and Mr. Naik that it is the crew’s principal
                 responsibility and priority as part of training to make the floor dry at all times on a
                 frequent basis, regardless of the level of traffic provided by passengers utilizing
                 the Spa facilities.
       4.1.9.    It was observed from the CCTV that in numerous occasion crew Collantes is seen
                 squeegeeing the floor surface around the end of the Spa corridor and placing the
                 squeegeed surface liquid/contaminants around the drain trench system, at the
                 location where Ms. Kessler slipped and fell.
       4.1.10.   Based on CCTV and as inferred from the deposition transcripts provided by Mr.
                 Collantes and Ms. Lenoso, it is evident that significant amounts of
                 liquid/contaminants were squeegeed at the location where Ms. Kessler slipped and
                 fell, prior to the incident.
       4.1.11.   Based on the CCTV it is evident that Mr. Collantes failed to implement established
                 procedures to dry the floor using a rag to wipe the floor after the squeegee was
                 used, as stated in the deposition transcript Ms. Lenoso and Mr. Naik. Moreover,
                 the specific area next to the drainage trench was not adequately mark as a hazard
                 area, where water accumulated.
       4.1.12.   The inspected squeegee had a significant level of wear and accumulation of
                 contaminant matter as observed in Figure 8. Since it was not possible to test it on
                 the surface it was not possible to determine if the floor surface would result in a
                 dry condition free of contaminates, or simply spread throughout the surface.
       4.1.13.   From the various reports as stated within deposition transcripts by the crew, the
                 squeegee is used as the main method to immediately dry the floor surface in the
                 Spa, and the water must be squeegeed directly to drainage locations; where, when
                 used correctly in the Spa, the floor becomes immediately dry. It is evident from the
                 CCTV footage that the method of squeegee was not used adequately, where the
                 squeegee is partly dragged at the location where Ms. Kessler slipped and fell.
                 Moreover, water was placed next to the drain by crew Collantes when using the
                 squeegee. It is reasonable to assume that if the squeegee was working according
                 to the requirements set by those in control of the vessel, significant amounts of
                 water and potentially other surface contaminates were accumulated on the Spa
                 floor surface, resulting in a dangerous condition, at the location where Ms. Kessler
                 slipped and fell.
       4.1.14.   Those in control of the maintenance of the Spa facility failed to properly train and
                 ensure adequate known floor drying procedures by crew to ensure that all water
                 pushed/squeegeed towards the drainage be placed directly on the drainage trench
                 - where water was mostly found to drain. In fact, based on the deposition transcript
                 by Mr. Collantes, he acknowledged not having read the position role and
                 responsibilities, safety manual and other training documents that ensure a
                 reasonably safe floor surface condition.
       4.1.15.   It is also unknown if those in control of the maintenance of the Spa have processes
                 and/or policies on maintaining and replacing the squeegee to ensure its
                 effectiveness when used to dry the floor and achieve a contaminant-free surface
                 that results in a reasonably safe condition.




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           SURAFACE EVALUATION
    The risk of slipping and falling accidents is significantly increased due to surfaces not having the
    necessary degree of traction, slip resistance as provided by the coefficient of friction. Lee-Jean
    Lin et. al. 1995; Peake et. al. 1999; Lois 2004; Jensen 2005; Dahl 2010, Di Pilla 2016). Based on
    the Spa surface evaluation and supporting documentation the following can be inferred

       4.2.1.      Conditions of the slip resistance testing was conducted on a clean floor, which is
                   more likely than not, not equivalent to the time of Ms. Kessler’s incident, as the
                   floor surface appeared treated and clean/disinfected prior the opening of the Spa
                   for guest arrival. This was observed from the visual microscopic evaluation
                   showing a significant portion of the tile micro-pores free of contaminants.
       4.2.2.      The slip resistance rating of the tile at the Spa floor provided by the manufacturer
                   is R11. This is based on the German Ramp Test, where R-numbers are provided
                   by the standard DIN 51130 (DIN, 2014). A R11 value is known to be suitable for
                   transitional areas that can occasionally become wet. In comparison, R values R12
                   and R13 that are suitable for wet and very wet areas, respectively. Based on the
                   application where the tile was installed, it is possible to observe via the available
                   CCTV and as reported in the deposition transcript by Mr. Berman, that the floor
                   surface in the Spa is found to be wet or very wet.
       4.2.3.      Surfaces specified with a R value of R11, such as the tile located in the spa at the
                   time of the incident by Ms. Kessler, are known to have a coefficient of friction (COF)
                   varying from 0.4 to 0.7 when wet. Whereas Surfaces specified with a higher R
                   value will provide a higher degree of traction or COF when wet.
       4.2.4.      The slip resistance rating is therefore considered inadequate for the application as
                   a Spa. Those in control of the vessel and Spa should have been aware of the
                   inadequate and deficient selected type of tile, and thus failed to use a safe floor
                   surface for an area that is known to be wet or very wet.
       4.2.5.      The low level of desired slip resistance as provided by the tile manufacturer rating
                   was corroborated by the surface evaluation tests, where in the direction and
                   location that Ms. Keesler slipped and fell, the slip resistance of the floor surface
                   was found to be below the necessary surface traction needed to ensure a safe
                   walking surface.
       4.2.6.      Furthermore, for floor surfaces in marine environments where surfaces are more
                   likely than not to be wet or very wet, the American Society for Testing and Materials
                   International (ASTM) F1166-07, “Standard Practice for Human Engineering
                   Design for Marine Systems, Equipment and Facilities”, states that the minimum
                   COF to ensure reasonably safe floor surface is 0.60, the Spa floor failed to meet
                   the minimum 0.60 standard.
       4.2.7.      Additionally, as a mean of egress or means of escape, the evaluated Spa corridor
                   does not meet the International Convention for the Safety of Life At Sea (SOLAS)
                   requirements that states floor surfaces must be slip-free underfoot as indicated in
                   Chapter II-2, Part D, Regulation 13, Section 3.2.4.1, for which vessels such as the
                   Norwegian Breakaway must comply to.




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       4.2.8.    With regards to floor surface drainage, typically Spa and pool facilities will
                 incorporate self-drainage surfaces to avoid water being stagnant resulting in the
                 formation of puddles. When evaluating the floor surface, water remain stagnant
                 and when it drained it did so away from the drainage points; additional evidence
                 on the defective floor surface; and how the accumulation of water at the slip and
                 fall location of Ms. Kessler did not drain from this location when deposited by crew.
       4.2.9.    Based on the lack of self-draining surfaces, a higher level of surface traction is
                 would be further needed as it relates to defective drainage conditions, which were
                 evidenced during the inspection showing that water and other liquids or surface
                 contaminates remain stagnated and/or drain away from the drainage systems
                 further increasing the likelihood of having wet floors, and thus increasing the risk
                 of a slip and fall. Those in control of the maintenance of the Spa facility should
                 have been aware of dangerous conditions provided by the inadequate drainage
                 and relative low surface traction for wet and very wet surfaces.
       4.2.10.   The gait of a person, generally described as the manner in which that person
                 walks, can be evaluated and analyzed based on mechanics and vectors (Öberg
                 et. al. 1993, Lee and Grimson 2002). Vectors, which can be represented by arrows,
                 are in essence a quantity having direction as well as magnitude, with a position of
                 one point in space relative to another, and are a fundamental part of engineering
                 analysis. To this end, Ms. Kessler’s gait was evaluated based on the CCTV
                 footage, and it is possible to confirm that Ms. Kessler’s gait cycle is stable and
                 balance, providing firm initial contact with the heel, stable loading response, a
                 steady mid- to terminal- stance, with an adequate balance during the initial- mid-
                 and terminal- swing, as represented in Figure 13.
       4.2.11.   When comparing Ms. Kessler gait at the onset of the slip and fall incident, I found
                 that the fall was not related to her gait or balance, and in fact the inadequate floor
                 surface condition and low traction, results in her slip and fall incident. It is clear that
                 Ms. Kessler upon initial contact with the surface, she immediately slipped and her
                 heel came forward not being able to have a loading response, nor continuing any
                 further with the stance phase, as represented in Figure 14. Moreover, she is seen
                 trying to hold on to something with her left arm as her heel continues to slip forward.
       4.2.12.   Moreover, as supported by CCTV and deposition testimony, the significant
                 accumulation of liquid/contaminates deposited by the crew with the squeegee
                 (next to the drain) on the surface contribute directly to the slip and fall incident
                 experienced by Ms. Kessler, as it can be derived from the inspection evidence
                 which corroborates the CCTV and deposition transcripts statements by Mr.
                 Collantes, Ms. Lenoso and Mr. Naik.
       4.2.13.   Lastly, prior slip and fall incidents that occurred on equivalent Spa floor surface
                 type both at the Breakaway vessel and the Getaway (sister vessel/class ship) as
                 the one where Ms. Kessler slipped and fell (as reported by the Defendant’s
                 answers to initial interrogatories), are further evidence that the levels of the Spa
                 floor surface traction may have been inadequate, therefore resulting in an
                 unreasonable hazardous condition for a Spa area, that would not meeting the
                 SOLAS nor ASTM aforementioned standards.




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                           Figure 13 – Ms. Kessler gait cycle prior incident




                         Figure 14 – Ms. Kessler gait cycle during the incident




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    5.     CONCLUSIONS
    The slipping and falling incident involving Ms. Christine Kessler was evaluated by conducting a
    vessel inspection, reviewing relevant documents, peer reviewed studies and applicable
    references. For the type of occupancy and exposure in which the Spa floor surface is intended to
    be utilized, the hazardous conditions relating to the i) deficient drainage of the floor, ii)
    substandard surface traction, and iii) floor maintenance during the use of the Spa facilities, should
    have been known and appreciated by those in control of the Spa facility and of the maintenance
    and training that is required and necessary for reasonably safe pedestrian access.

    Based on my education, professional experience, training and understating of applicable
    requirements and standards, it is my opinion within a reasonable degree of scientific probability,
    the increased risk of slipping and falling by Ms. Christine Kessler was due to the combination of
    a defective and inadequate drainage of the surface floor area; lack of maintenance to ensure a
    dry floor surface was provided by those in control of the Spa facility; lack of adequate training of
    crew resulting in depositing excessive amounts of water away from drainage points; and the low
    level of surface traction for marine applications that are commonly wet or very wet such as the
    Spa/Pool area where the incident occurred.




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